
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
Forrest Ray Kyle appeals the district court’s orders accepting the recommendation of the magistrate judge and denying relief on his 28 U.S.C. § 2254 (2006) petition. We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. Kyle v. McBride, No. 2:02-cv-00010-REM (N.D. W. Va. Oct. 29, 2002 Mar. 24, 2009). We deny Kyle’s motion to appoint counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED.

